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        UNITED STATES DISTRICT COURT
                               District of Kansas
                               (Kansas City Docket)


UNITED STATES OF AMERICA,

                  Plaintiff,

            v.                           CASE NO.     17-20033-JAR
STEVEN D. LAVY,

                  Defendant.



      GOVERNMENT=S RESPONSE TO DEFENDANT’S
   EMERGENCY MOTION FOR COMPASSIONATE RELEASE
                     (Doc. 57)



      APPEAR NOW the United States of America, by and through Jared S.

Maag, Assistant United States Attorney, and respectfully submit the following

in response to the defendant’s emergency motion for compassionate release:

      The defendant moves this Court for an immediate order of compassionate

release on grounds that COVID-19 presents a serious risk to his overall health,

which (as he maintains) is particularly compromised by his hypertension.

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(Doc. 57, Mot. for Compassionate Release at 2.)             The United States

respectfully opposes the motion.     This Court should deny the motion on

grounds that the defendant has not met his burden of establishing that a sentence

reduction is warranted under the statute.

      I.    PROCEDURAL HISTORY

      On July 6, 2017, a grand jury sitting in Kansas City, Kansas issued a one

count indictment charging the defendant with bank robbery, in violation of 18

U.S.C. § 2113. (Doc. 9, Indt. at 1-3.)

      On January 22, 2019, the defendant entered a guilty plea, without an

agreement, to the sole count in the indictment.   (Doc. 43, Plea Pet. at 1-7.)

      On October 10, 2019, the defendant was sentenced to a controlling term

of 48 months’ imprisonment.      (Doc. 54, Judgment at 2.)     The defendant is

presently set to be released from the Bureau of Prisons on November 17, 2020.

      II.   ARGUMENT

            A.    BOP’s Response to the COVID-19 Pandemic

      As this Court is well aware, COVID-19 is an extremely dangerous illness

that has caused many deaths in the United States in a short period of time and

that has resulted in massive disruption to our society and economy. In response



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to the pandemic, BOP has taken significant measures to protect the health of the

inmates in its charge.

      BOP has explained that “maintaining safety and security of [BOP]

institutions is [BOP’s] highest priority.” BOP, Updates to BOP COVID-19

Action     Plan:    Inmate    Movement       (Mar.   19,    2020),   available   at

https://www.bop.gov/resources/news/20200319_covid19_update.jsp.

      Indeed, BOP has had a Pandemic Influenza Plan in place since 2012.

BOP Health Services Division, Pandemic Influenza Plan-Module 1:

Surveillance       and   Infection   Control     (Oct.     2012),    available   at

https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf.             That protocol

is lengthy and detailed, establishing a six-phase framework requiring BOP

facilities to begin preparations when there is first a “[s]uspected human outbreak

overseas.” Id. at i. The plan addresses social distancing, hygienic and cleaning

protocols, and the quarantining and treatment of symptomatic inmates.

      Consistent with that plan, BOP began planning for potential coronavirus

transmissions in January. At that time, the agency established a working group

to develop policies in consultation with subject matter experts in the Centers for

Disease Control, including by reviewing guidance from the World Health

Organization.

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      On March 13, 2020, BOP began to modify its operations, in accordance

with its Coronavirus (COVID-19) Action Plan (“Action Plan”), to minimize the

risk of COVID-19 transmission into and inside its facilities. Since that time, as

events require, BOP has repeatedly revised the Action Plan to address the crisis.

      Beginning April 1, 2020, BOP implemented Phase Five of the Action

Plan, which currently governs operations. The current modified operations

plan requires that all inmates in every BOP institution be secured in their

assigned cells/quarters for a period of at least 14 days, in order to stop any

spread of the disease. Only limited group gathering is afforded, with attention

to social distancing to the extent possible, to facilitate commissary, laundry,

showers, telephone, and computer access. Further, BOP has severely limited

the movement of inmates and detainees among its facilities. Though there will

be exceptions for medical treatment and similar exigencies, this step as well will

limit transmissions of the disease. Likewise, all official staff travel has been

cancelled, as has most staff training.

      All staff and inmates have been and will continue to be issued face masks

and are strongly encouraged to wear an appropriate face covering when in public

areas when social distancing cannot be achieved.



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      Every newly admitted inmate is screened for COVID-19 exposure risk

factors and symptoms. Asymptomatic inmates with risk of exposure are placed

in quarantine for a minimum of 14 days or until cleared by medical staff.

Symptomatic inmates are placed in isolation until they test negative for COVID-

19 or are cleared by medical staff as meeting CDC criteria for release from

isolation. In addition, in areas with sustained community transmission, such

as Philadelphia, all facility staff are screened for symptoms. Staff registering a

temperature of 100.4 degrees Fahrenheit or higher are barred from the facility

on that basis alone. A staff member with a stuffy or runny nose can be placed

on leave by a medical officer.

      Contractor access to BOP facilities is restricted to only those performing

essential services (e.g. medical or mental health care, religious, etc.) or those who

perform necessary maintenance on essential systems. All volunteer visits are

suspended absent authorization by the Deputy Director of BOP.                   Any

contractor or volunteer who requires access will be screened for symptoms and

risk factors.

      Social and legal visits were stopped as of March 13, and remain suspended

until at least May 18, 2020, to limit the number of people entering the facility

and interacting with inmates. In order to ensure that familial relationships are

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maintained throughout this disruption, BOP has increased detainees’ telephone

allowance to 500 minutes per month. Tours of facilities are also suspended.

Legal visits will be permitted on a case-by-case basis after the attorney has been

screened for infection in accordance with the screening protocols for prison staff.

      Further details and updates of BOP’s modified operations are available to

the public on the BOP website at a regularly updated resource page:

www.bop.gov/coronavirus/index.jsp.

      In addition, in an effort to relieve the strain on BOP facilities and assist

inmates who are most vulnerable to the disease and pose the least threat to the

community, BOP is exercising greater authority to designate inmates for home

confinement. On March 26, 2020, the Attorney General directed the Director

of the Bureau of Prisons, upon considering the totality of the circumstances

concerning each inmate, to prioritize the use of statutory authority to place

prisoners in home confinement. That authority includes the ability to place an

inmate in home confinement during the last six months or 10% of a sentence,

whichever is shorter, see 18 U.S.C. § 3624(c)(2), and to move to home

confinement those elderly and terminally ill inmates specified in 34 U.S.C.

§ 60541(g). Congress has also acted to enhance BOP’s flexibility to respond to

the pandemic. Under the Coronavirus Aid, Relief, and Economic Security Act,

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enacted on March 27, 2020, BOP may “lengthen the maximum amount of time

for which the Director is authorized to place a prisoner in home confinement”

if the Attorney General finds that emergency conditions will materially affect

the functioning of BOP. Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 281, 516

(to be codified at 18 U.S.C. § 3621 note). On April 3, 2020, the Attorney

General gave the Director of BOP the authority to exercise this discretion,

beginning at the facilities that thus far have seen the greatest incidence of

coronavirus transmission.

      Taken together, all of these measures are designed to mitigate sharply the

risks of COVID-19 transmission in a BOP institution. BOP has pledged to

continue monitoring the pandemic and to adjust its practices as necessary to

maintain the safety of prison staff and inmates while also fulfilling its mandate

of incarcerating all persons sentenced or detained based on judicial orders.

      Unfortunately and inevitably, some inmates have become ill, and more

likely will in the weeks ahead. But BOP must consider its concern for the health

of its inmates and staff alongside other critical considerations. For example,

notwithstanding the current pandemic crisis, BOP must carry out its charge to

incarcerate sentenced criminals to protect the public. It must consider the effect

of a mass release on the safety and health of both the inmate population and the

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citizenry. It must marshal its resources to care for inmates in the most efficient

and beneficial manner possible. It must assess release plans, which are essential

to ensure that a defendant has a safe place to live and access to health care in

these difficult times. And it must consider myriad other factors, including the

availability of both transportation for inmates (at a time that interstate

transportation services often used by released inmates are providing reduced

service), and supervision of inmates once released (at a time that the Probation

Office has necessarily cut back on home visits and supervision).1

              B.     Legal Framework

       Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain circumstances,

grant a defendant’s motion to reduce his term of imprisonment. Before filing

that motion, however, the defendant must first request that BOP file such a

motion on his behalf pursuant to Section 3582(c)(1)(A). A court may grant the

defendant’s own motion for a reduction in his sentence only if the motion was

filed “after the defendant has fully exhausted all administrative rights to appeal



1
  On Monday, May 18, 2020, the Director of the Bureau of Prisons (BOP) ordered the
implementation of Phase 7 of its COVID-19 Action Plan. This phase extends all measures
from Phase 6, to include measures to contain movement and decrease the spread of the virus.
The Phase 7 Action Plan will remain in place through June 30, 2020, at which time the plan
will be evaluated. The BOP will continue to provide daily updates and information related to
COVID-19 at www.bop.gov/coronavirus/index.jsp; additional information about the agency
can be found at www.bop.gov.
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a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf ”

or after 30 days have passed “from the receipt of such a request by the warden

of the defendant’s facility, whichever is earlier.” Id.

      If that exhaustion requirement is met, as it appears to have been here,

(Doc. 57-1), a court may reduce the defendant’s term of imprisonment “after

considering the factors set forth in [18 U.S.C. § 3553(a)]” if the Court finds, as

relevant here, that (i) “extraordinary and compelling reasons warrant such a

reduction” and (ii) “such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” § 3582(c)(1)(A)(i). As the

movant, the defendant bears the burden to establish that he is eligible for a

sentence reduction. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016);

United States v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

      The Sentencing Commission has issued a policy statement addressing

reduction of sentences under Section 3582(c)(1)(A).       As relevant here, the

policy statement provides that a court may reduce the term of imprisonment

after considering the Section 3553(a) factors if the Court finds that

(i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the

defendant is not a danger to the safety of any other person or to the community,



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as provided in 18 U.S.C. § 3142(g);” and (iii) “the reduction is consistent with

this policy statement.” U.S.S.G. § 1B1.13.2

       The policy statement includes an application note that specifies the types

of medical conditions that qualify as “extraordinary and compelling reasons.”

First, that standard is met if the defendant is “suffering from a terminal illness,”

such as “metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS),

end-stage organ disease, [or] advanced dementia.” U.S.S.G. § 1B1.13, cmt.

n.1(A)(i). Second, the standard is met if the defendant is:

       (I) suffering from a serious physical or medical condition,

       (II) suffering from a serious functional or cognitive impairment, or

       (III) experiencing deteriorating physical or mental health because of
       the aging process,

             that substantially diminishes the ability of the defendant
             to provide self-care within the environment of a
             correctional facility and from which he or she is not
             expected to recover.



2
  The policy statement refers only to motions filed by the BOP Director. That is because the
policy statement was last amended on November 1, 2018, and until the enactment of the First
Step Act on December 21, 2018, defendants were not entitled to file motions under Section
3582(c). See First Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf. 18
U.S.C. § 3582(c) (2012). In light of the statutory command that any sentence reduction be
“consistent with applicable policy statements issued by the Sentencing Commission,”
§ 3582(c)(1)(A)(ii), and the lack of any plausible reason to treat motions filed by defendants
differently from motions filed by BOP, the government submits that the policy statement
applies to motions filed by defendants as well.
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U.S.S.G. § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other

conditions and characteristics that qualify as “extraordinary and compelling

reasons” related to the defendant’s age and family circumstances. U.S.S.G.

§ 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the possibility that BOP

could identify other grounds that amount to “extraordinary and compelling

reasons.” U.S.S.G. § 1B1.13, cmt. n.1(D).

            C.    Lack of Extraordinary and Compelling Reasons

      In the present case, the defendant’s request for a sentence reduction should

be denied because he has not demonstrated “extraordinary and compelling

reasons” warranting release. As explained above, under the relevant provision

of Section 3582(c), a court can grant a sentence reduction only if it determines

that “extraordinary and compelling reasons” justify the reduction and that “such

a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.”       18 U.S.C. § 3582(c)(1)(A)(i).      The Sentencing

Commission’s policy statement defines “extraordinary and compelling reasons”

to include, as relevant here, certain specified categories of medical conditions.

U.S.S.G. § 1B1.13, cmt. n.1(A).

      For that reason, to state a cognizable basis for a sentence reduction based

on a medical condition, the defendant first must establish that his condition(s)

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fall(s) within one of the categories listed in the policy statement.          Those

categories include, as particularly relevant here, (i) any terminal illness, and (ii)

any “serious physical or medical condition . . . that substantially diminishes the

ability of the defendant to provide self-care within the environment of a

correctional facility and from which he or she is not expected to recover.”

U.S.S.G. 1B1.13, cmt. n.1(A). If a defendant’s medical condition does not fall

within one of the categories specified in the application note (and no other part

of the application note applies), his motion must be denied. The defendant fails

to meet the established criteria.

      The mere existence of the COVID-19 pandemic, which poses a general

threat to every non-immune person in the country, does not fall into either of

those categories and therefore could not alone provide a basis for a sentence

reduction.    The categories encompass specific serious medical conditions

afflicting an individual inmate, not generalized threats to the entire population.

As the Third Circuit has held, “the mere existence of COVID-19 in society and

the possibility that it may spread to a particular prison alone cannot

independently justify compassionate release.” United States v. Raia, 954 F.3d 594,

597 (3d Cir. 2020); see also United States v. Eberhart, No. 13-cr-00313-PJH-1,

2020 WL 1450745 at *2 (N.D. Cal. Mar. 25, 2020) (Slip Op.) (“a reduction of

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sentence due solely to concerns about the spread of COVID-19 is not consistent

with the applicable policy statement of the Sentencing Commission as required

by § 3582(c)(1)(A).”). 3        To classify COVID-19 as an extraordinary and

compelling reason would not only be inconsistent with the text of the statute

and the policy statement, but would be detrimental to BOP’s organized and

comprehensive anti-COVID-19 regimens, could result in the scattershot

treatment of inmates, and would undercut the strict criteria BOP employs to

determine individual inmates’ eligibility for sentence reductions and home

confinement. Section 3582(c)(1)(A) contemplates sentence reductions for

specific individuals, not the widespread prophylactic release of inmates and the

modification of lawfully imposed sentences to deal with a world-wide viral

pandemic.

       That does not mean, however, that COVID-19 is irrelevant to a court’s



3
   See also, e.g., United States v. Coles, 2020 WL 1899562 (E.D. Mich. Apr. 17, 2020) (denied
for 28-year-old inmate at institution with outbreak); United States v. Okpala, 2020 WL 1864889
(E.D.N.Y. Apr. 14, 2020); United States v. Weeks, 2020 WL 1862634 (S.D.N.Y. Apr. 14, 2020);
United States v. Haney, 2020 WL 1821988 (S.D.N.Y. Apr. 13, 2020) (denied for 61-year-old
with no other conditions); United States v. Pinto-Thomaz, 2020 WL 1845875 (S.D.N.Y. Apr.
13, 2020) (two insider trading defendants with less than a year to serve have no risk factors);
United States v. Korn, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (“in this Court’s view,
the mere possibility of contracting a communicable disease such as COVID-19, without any
showing that the Bureau of Prisons will not or cannot guard against or treat such a disease,
does not constitute an extraordinary or compelling reason for a sentence reduction under the
statutory scheme.”); United States v. Carver, 2020 WL 1892340 (E.D. Wash. Apr. 8, 2020).

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analysis of a motion under § 3582(c)(1)(A). If an inmate has a chronic medical

condition that has been identified by the CDC as elevating the inmate’s risk of

becoming seriously ill from COVID-19,4 that condition may satisfy the standard

of “extraordinary and compelling reasons.” Under these circumstances, a

chronic condition (i.e., one “from which [the defendant] is not expected to

recover”) reasonably may be found to be “serious” and to “substantially

diminish[] the ability of the defendant to provide self-care within the

environment of a correctional facility,” even if that condition would not have

constituted an “extraordinary and compelling reason” absent the risk of

COVID-19. U.S.S.G. § 1B1.13, cmt. n.1(A)(ii)(I).

      But as part of its analysis of the totality of circumstances, the Court

should consider whether the inmate is more likely to contract COVID-19 if he

is released than if he remains incarcerated. That will typically depend on the

inmate’s proposed release plans and whether a known outbreak has occurred at

his institution. As of the date of this response, Forrest City Low, FCI reports

259 inmates testing positive for COVID-19, 1 staff member testing positive, zero




4
    See Centers for Disease Control, At Risk for Severe Illness, available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-
risk.html (last modified Apr. 2, 2020).
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deaths, 48 inmate recoveries, and 2 staff recoveries.                   The defendant has

presented this Court with no proposed release plan.

      Here, the defendant states that “[a]s a long-time sufferer from

hypertension, [he] is uniquely susceptible to severe complications from COVID-

19, should he contract this highly contagious disease. He faces a substantial

risk of death.” (Doc. 57, Mot. for Compassionate Release at 7.)

      In this instance, the defendant has fallen short of identifying a medical

condition that falls within one of the categories specified in the policy

statement’s application note. Defendant’s asserted condition does not itself

rise to the level of severity required under the policy statement. Moreover, the

defendant’s alleged compromised condition (hypertension) is not a condition

identified by the CDC as increasing a person’s risk for developing serious illness

from COVID-19. See note 4.5




5
 The following is provided by the CDC in response to the question of whether patients with
Hypertension are at a higher risk from COVID-19:

     Although many patients with severe illness from COVID-19 have underlying
     hypertension, it is unclear at this time if hypertension is an independent risk factor
     for severe illness from COVID-19. Hypertension is common in the United States.
     Hypertension is more frequent with advancing age and among men, non-Hispanic
     blacks, and people with other underlying medical conditions such as obesity,
     diabetes, and serious heart disease. At this time, people whose only underlying
     medical condition is hypertension are not considered to be at higher risk for
     severe illness from COVID-19. (Emphasis Supplied).
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      For these reasons, the defendant has failed to establish an “extraordinary

and compelling reason” for emergency release under Section 3582(c)(1)(A)(i).

The motion should therefore be denied.

      III.   CONCLUSION

      The defendant has failed to demonstrate extraordinary and compelling

reasons for this Court to grant the requested relief in this instance. Thus, the

government respectfully moves this Court to overrule his motion.

                              Respectfully submitted,

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                              United States Attorney
                              District of Kansas

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                            CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of May, 2020, I electronically filed
the foregoing Response with the Clerk of the Court by using the CM/ECF
system which will send a copy of the same to all counsel who have entered their
appearance in this matter, to include the following counsel:

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